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 8
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 9

10                                 UNITED STATES DISTRICT COURT

11                               NORTHERN DISTRICT OF CALIFORNIA

12                                         OAKLAND DIVISION

13   IN RE CALIFORNIA BAIL BOND                      Case No. 4:19-cv-00717-JST
     ANTITRUST LITIGATION
14
                                                     CLASS ACTION
15   This Document Relates To:
                                                     DECLARATION OF DEAN M. HARVEY IN
16                                                   SUPPORT OF ADMINISTRATIVE MOTION
     ALL ACTIONS                                     TO CORRECT THE DECLARATION OF
17                                                   DARRYL ANDERSON (DKT. 285)

18

19

20          I, Dean M. Harvey, declare as follows:

21                  1.       I am a partner of the law firm Lieff Cabraser Heimann & Bernstein, LLP,

22   which has been appointed Interim Class Counsel in the above-captioned proceeding. I am a

23   member of the State Bar of California. I have personal knowledge of the facts herein and, if

24   called upon to testify to those facts, I could and would do so competently.

25                  2.       Attached hereto as Exhibit A is a true and correct copy of the document

26   beginning at Bates Number GSBA000002210 and ending at Bates Number GSBA000002210,

27   produced by the Golden State Bail Agents Association (“GSBAA”) in this litigation on

28   September 13, 2021.
                                                                DECL. OF DEAN M. HARVEY ISO ADMIN. MOT. TO
                                                               CORRECT DECL. OF DARRYL ANDERSON (DKT. 285)
                                                                                    CASE NO. 4:19-CV-00717-JST
     Case 4:19-cv-00717-JST          Document 324-1         Filed 10/26/22       Page 2 of 3



 1                  3.      Attached hereto as Exhibit B is a true and correct copy of the document

 2   beginning at Bates Number CBAA000008537 and ending at Bates Number CBAA000008554,

 3   produced by the California Bail Agents Association (“CBAA”) in this litigation on September 25,

 4   2021.

 5                  4.      Attached hereto as Exhibit C is a true and correct copy of the document

 6   beginning at Bates Number SFAA 000387 and ending at Bates Number SFAA 000690, produced

 7   by the Surety & Fidelity Association of America (“SFAA”) in this litigation on March 4, 2021.

 8                  5.      Attached hereto as Exhibit D is a true and correct copy of the document

 9   beginning at Bates Number CDI_000000262 and ending at Bates Number CDI_000000329,

10   produced by the California Department of Insurance (“CDI”) in this litigation on February 5,

11   2021.

12                  6.      In preparing for the oral argument regarding Moving Defendants’ Motion

13   to Dismiss Plaintiffs’ Third Consolidated Amended Complaint, I discovered that Exhibits 4, 6, 8,

14   and 10 to the Declaration of Darryl Anderson (ECF Nos. 285-4, 285-6, 285-8, and 285-10,

15   respectively) were inaccurate and/or incomplete. I then consulted with Lieff Cabraser’s litigation

16   support professionals, who confirmed that Exhibits 4, 6, 8, and 10 to the Anderson Declaration

17   were not what they purported to be, and confirmed that Exhibits A, B, C, and D attached hereto

18   are, respectively, the correct and complete documents produced to Plaintiffs by the

19   aforementioned entities in this litigation.

20                  7.      After receiving confirmation from Lieff Cabraser’s litigation support

21   professionals confirming that Exhibit 6 was not what it purported to be, I immediately emailed all

22   Defense counsel on October 4, 2022, explaining the issue and attaching both the erroneous

23   document filed at Docket Number 285-6, and the correct document produced with beginning

24   Bates Number CBAA000008537 and attached as Exhibit B hereto. I asked Defendants to let me

25   know if any of them opposed Plaintiffs filing the correct document. In response, Defendants

26   stated that their filing of an incomplete Exhibit 6 was the “result of an oversight,” and confirmed

27   they do not object to Plaintiffs filing the corrected copy at Exhibit B.

28
                                                                  DECL. OF DEAN M. HARVEY ISO ADMIN. MOT. TO
                                                      -2-        CORRECT DECL. OF DARRYL ANDERSON (DKT. 285)
                                                                                      CASE NO. 4:19-CV-00717-JST
     Case 4:19-cv-00717-JST         Document 324-1         Filed 10/26/22       Page 3 of 3



 1                  8.      Upon receiving confirmation from Lieff Cabraser’s litigation support

 2   professionals that Exhibits 4, 8, and 10 were not what they purported to be, I immediately emailed

 3   all Defense counsel again on October 18, 2022, explaining the issues specific to those documents.

 4   In response, Defendants acknowledged that the improper attachment in Exhibit 4 comes from a

 5   separate production, but did not offer any explanation for its inclusion in Exhibit 4. Defendants

 6   also confirmed that Exhibit 8 is not a complete copy of the document produced in this litigation,

 7   and that they excluded pages from the complete document because “they do not believe they have

 8   any bearing on the references in the TAC at paragraph 123.” Defendants also acknowledged that

 9   they had excerpted Exhibit 10. And Defendants again confirmed they do not object to Plaintiffs

10   filing the correct documents at Exhibits A, C, and D.

11                  9.      I declare under penalty of perjury under the laws of the United States that

12   the foregoing is true and correct.

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14                  Executed October 26, 2022 in Kentfield, California.

15                                            /s/ Dean M. Harvey
                                              Dean M. Harvey
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                                                                 DECL. OF DEAN M. HARVEY ISO ADMIN. MOT. TO
                                                     -3-        CORRECT DECL. OF DARRYL ANDERSON (DKT. 285)
                                                                                     CASE NO. 4:19-CV-00717-JST
